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                                                                     1         Page 1 of 16JA
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            Case 1:21-cr-20112-UU Document 3 Entered on FLSD Docket 02/26/2021
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                                                                                                     Feb 25, 2021

                                       UNITED STATES DISTRICT COURT
                                       SO U TH ERN D ISTR ICT O F FLO R ID A
                                 21-20112-CR-UNGARO/REID
                                       c ase N o.
                                                    18U.S.C.j 1349
                                                    18U.S.C.j 1956(h)
                                                    18U.S.C.j 1957
                                                    18U.S.C.j2
                                                    18U.S.C.
                                                           'j981(a)(1)(C)
                                                    18U.S.C.j982
             IJNITED STATES OF AM ERICA

             VS.

             W ILLIAM CLER O and
             CESAR AR M A N D O PER EZ A M AD O R ,
j                                 Defendants                                     '
!                                              .      /
I
I                                                    IND IC TM EN T
q                                 ,                                                          .       '.
1
                    TheGrand Jury chargesthat:

                                             G ENER A L ALL EG A TIO N S

                    Atal1tim esm aterialto this Indictm ent:

                                             Druz Cost-savinzsProeram s                              '

        1           1.     Dnzgcost-savingsprograms(alsoltnownasco-payorcost-sharingprograms)were
             programs offered by pharmaceutical m anufacturers to reduce the out-of-pocket expense to

F            individualsbuying certain prescription drugs supplied by thosem anufacturers. Theprogram swere

             offered to individualswith com m ercialinslzrance policiesthatdid notcoverthef'u11costofthose

             drugs,asw ellasto individualsw ithouthealth insurance coverage.Cost-savings program s usually

             took the form ofa coupon,often called a savings card,w hich had a dollaIr value thatreduced the
                                                          .



,            costofthe drug being purchased.
;   .                                                          *1                '                                      .

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                 Individuals who took prescription drtlgs for which a cost-savings program was

 available could obtain asavingscard through severalm eans,often from theprescribing physician

 orby downloading acard from awebsite setup by them anufacturer.The individualwasexpected

 to presentthe savingscard to thepharm acy w here the individualw ashaving theprescription filled.

                 W hen a phnrmacy filled the prescription for a dnlg covered by a cost-savings

 program,thephnrmacysubmitledaclaim electronicallyy
                                                  /
                                                   toapharmacybenefitmanager(PBM )for
 paym ent. PBM S w ere com panies that m anage prescription drug benefits on behalf of health

 insurance plans.The individual's prim ary insurer usually paid some orm ostofthe costof the

 Prescrip'tion drug.

         4.     Afterthe claim was processed by the prim ary insurer,the pharm acy submitted a

 secondaryclaim tothecost-savingsprogram forthevalueofthesavingscard,subjecttoamaximtlm .
 savings lim itfor the cost-savings program .Each savings card fora particular dnzg had routing

 inform ation sim ilar to a private inslzrance card that allow ed the electronic claim to be routed to a

 com pany thatprocessed the claim on behalf of the phannaceuticalm anufacturers,referred to here

 as a GEProgram adm inistrator.''

                A pharmacy .subm itling such claim s identified itself by its N ational Provider

 Identifier(NP1)oritsNationalCotmcilforPrescriptionDrugProgrnm (NCPDP)number.TheNPI
 wasauniqueidentification num berforcoveredhealth cazeproviderscreatedasaHealth lnslzrance

 PortabilityandAccountabilityActIHIPAAIAdministrativeSimplification Standard.TheNCPDP
 num berw as a seven-digitn'lm berassigned to every licensed pharm acy in the United States.These

 num bers ensured the proper routing of reim blzrsem ents tm der the cost-savings progrnm s by the

 progrnm adm inistrators.In orderto be reim blzrsed,the pharm acy subm itted a secondary claim to a


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 drug cost-savings program that contained such inform ation as the beneficiary's biographical

 information,prescription details,dateo'fservice,prim ary instlrer,and the savingscard number.

         6.      Ifthe claim forpaym entfrom the drug cost-savingsprogram was allowed,the

 program administratorpaid,on behalfofthem anufacturer,forsom eoral1oftheout-of-pocketcost

 ofthedrug aflerpaym entby theprim ary insurer. A pharm acy could also submitaprimary claim

 to a cost-savings program 's adm inistrator on behalfof individuals withoutinstlrance coverage,

 comm only referred to as Gdcash-paying patients.'' The progrnm adm inistrator processed such

 daimsin the sam emannerasthe seoondary daims.

                                        The Pharm acies

               A V D rug Ph,LLC was a Florida corporation w ith a principaladdress of4993 S.W .
                              t
 74th Court5 M iami7 Florida' purportedly doing business as a retail pharm acy using the nnme

 AvDnlgsCop .andprovidingprescriptiondrugstobothuninsuredindividualsandindividualswith

 com m ercialinslzrance.

               Fenix Phnrm acy Corp w as a Florida corporation located at 10521 S.W .40th street,

 M inmi,Florida,purportedly doing businessas aretail.phnrmacy providing prescription dnlgsto

 both tminsured individualsand individualswith comm ercialinstlrance.

        9.     26 Pharm acy & DiscountInc.w as a Florida corporation located at 5767 S.W .8t11

 Street,M inmi,Florida,pup ortedly doing business as a retailphnrm acy providing prescription

 drugstoboth llninsured individualsand individualswith comm ercialinsurance.

               Rubi Pharm acy Inc. w as a Florida corporation located at 5143 S.W . 8th Street,

 M iam i,Flodda,purportedly doing business as a retailphnrm acy providing prescription drugs to

 both uninstlred individualsand individualsw ith com m ercialinsurance.


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                    DelacPharm acy Corp wasaFlorida corporation located at10521 S.W .40thStreet,

 Suite A,M iami,Florida,pup ortedly doing business as a retailpharmac,
                                                                     y providing prescription

 drtzgstoboth llninslzredindividualsandindividualswith comm ercialinsttrance.
                                .




                    StmshinePharm acy Corp wasaFloridacop oration located at5767 S.W .8thstreet,
                                           .




 Suitei,Miami,Florida,puportedlydoingbusinessasaretailpharmacyprovidingprescription
 drugsto both uninstlredindividualsand individualswith comm ercialinstlrance.

                    Bçnitez Pharmacy Corp was a Florida corporation located at4769 S.W .8th Street,

 M iam i,Florida,purportedly doing business as a retailpharmacy providing prescription drugsto

 both uninslzredindividualsand individua
                                       'lswith com mercialinslzrance.

        14.         Silvia'sPharm acy Corp wasa Florida corporation located at251 Park Boulevard,

 M iami,Florida,purportedly doing business as a retailphnrmacy providing prescription dnlgsto

 both lm insured individuisand individualswith comm èrcialinslzrance.
                                                                                                   -
                    A dvance Pharm acy PH Corp w as a Florida corporation located at 5143 S.W .8t)l

 Street,SuiteA,CoralGables,Florida,purportedly doing businessasaretailpharmacy providing

 prescription drugstoboth llninsured individualsand individualswith comm ercialinslzrance.

        16.         Rosario'sPhnrmacy Corp wasaFloridacorporation located at5309 S.W .8thstreet,

 M iami,Florida,purportedly doing businessasa retai'
                                                   lpharmacy providing prescription drugs to

 both uninsured individualsandh dividualswith comm ercialinsurance..

        17.         Progressive Pharm a Corp w as a Florida corporation located at8150 S.W .8* Street,

 Suite 121,M inm i,Florida,pup ortedly doing business as a retailphnrm acy providing prescription
            I

 drugs to both tm insured individualsand individualsw ith com m ercialinslzrance.
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                Sun Phanna Corp wasaFlorida corporation located Jt10521 S.W .40thStreet,
 M iam i,Florida,purportedly doing business as a retailphnrmacy providing prescription drugsto

 both uninsured individuals and individualsw ith com m ercialinsurance.

        19.     De1Pharma Corp wasaFloridacorporation located at5767 S.W .81 Street, M iam i,

 Florida,purportedly doing business as a retailpharmacy providing prescription dnlgs to both

 llninsured individualsand individualswith com mercialinstlrance.

        20.     Ava Phnrmacy Corp was a Florida corporation located at 516 S.W .57thAvenue,

 Suite 526,M iam i,Florida,pup ortedly doing businessasaretailphnrmacy providingprescription

 drugsto both llninsured individualsand individualsw ith com m ercialinsurance.

        21.     AbelPharm acy Corp w asa Florida cop oration located at5143 S.W .8thstreet, Coral

 Gables,Florida,purportedly doing businessasa retailpharmacy providing prescription drugsto

 both tminsured individualsand individualswith com mercialinsurance.

                                      R elated Com panies

                Green EagleCorporation wasaFloridacorporation with aprincipaladdressof4721
 S.w .74th Avenue, M inm i,Florida.

                Clear Options Corp was a Florida cop oration with a principaladdress of 10710

 s.w .67thTerraoe, M iam i,Florida.

                                        The D efendants

       24.      W ILLIAM CLER O ,a resident of M inm i-D ade Cotm ty,w as all owner,president

 and registered agentofG reen Eagle Corporation;an ow ner,presidentand registered agentofClear

 Options Corp;and a beneficialowner ofthe compnnieslisted in paragraphs 7-21 above (The
 Pharmacies).

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               CESAR ARM ANDO PEREZ AM ADOR,aresidentofM iam i-Dade County,was

 an owner and officer of Green Eagle Corporation; an operator of Clear Options Corp;and a

 beneficialownerofThePhannacies.

                                      C O UN T 1
             C O N SPIM CY TO CO M M IT W IR E FM U D A N D M M L FR AU D
                                        (18U.S.C.5 1349)
               TheGeneralAllegationssectionofthislndictm entisre-alleged and incorporatedby

 reference asthough fully setfol'th herein.

               Beginningin orarotmdDecember,2014,theexactdatebeingunknown totheGrand

 Jury,and continuingthrough on oraboutthedateofthisIndictment,in M iam i-Dade County,inthe

 Southern DistrictofFlorida,and elsewhere,the defendants,

                                   W ILLIAM CLER O and
                           C ESA R AR M AN D O PER EZ A M AD O R ,

 didwillfully,thatis,withtheintenttofurthertheobjectsoftheconspir>cy,andknowinglycombine,
 conspire,confederateand agreewith each other,andwith othersknown and unlcnown to theGrand

 Jtlry,to comm itoffensesagainsttheUrlited StatesofAm erica,thatis:

               to knowingly arld with the intentto defraud,devise and intend to devise a schem e

 andartificetodefraud andtoobtainm oneyandpropertybym eansofmateriallyfalseand fraudulent

 pretenses, representations,and prom ises, ltnow ing the pretenses,representations, and prom ises

 werefalseand fraudulentwhenm ade,andforthepurpose ofexecuting theschem eand artifice,did

 knowingly transm itand cause to be transm itled by m eans ofw ire com m unication in interstate and

 foreign com m erce,certain writings,signs, signals,pictures and sotm ds,in violation of Title 18,

 UnitedStatesCode,Section 1343(wirefraudl;and
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               to knowingly and with the intentto defraud,devise and intend to devise a schem e
                                                     J   l
 andartificeto defraudandto obtain moneyandpropel'tybym eansofm ateriallyfalseandfraudulent

 pretenses,representations, and prom ises, know ing the pretenses, representations, and prom ises

 werefalseand fraudulentwhen made,and forthepurposeofexecutingtheschem eandartifice,did

 knowingly causetobedelivered certain m ailm atterby theUnited StatesPostalService,according

 tothedirectionsthereon,inviolation ofTitle 18,UnitedStatesCode,Section 1341(mailfraud).
                             PU RPO SE O F TH E C O N SPIM CY

               It w as the purpose of the conspiracy for the defendants W ILLIAM CLER O ,

 CESAR ARM ANDO PEREZ AM A DOR r d their co-conspirators to llnlawfully enrich

 themselves by,among other things:(a) submiting and causing the submission of false and
 fraudulentclaims to drug cost-savings progrnms;(b) concealing the submission offalse and
 fraudulentclaimstocost-savingsprowams,andthereceiptandtransferoffraudproceeds;and (c)
 divertingthefraudproceedsforthepersonaluseandbenefitofthem selvesand others,andtof'urther

 thefraud.

                      M AN N ER AN D M EA N S O F TH E C ON SPIM CY

        The m nnner and m eans by w hich the defendants and their co-conspirators sought to

 accomplishtheobjectsandpurposeoftheconspiracyincluded,amongotherthings,thefollowing:
        4.     W ILLIAM CLERO and CESAR ARM ANDO PEREZ AM ADOR established

 and controlled nlzm erous pharm acies,'including The Pharm acies,and concealed their ow nership

 and controlofThe Pharm aciesthrough the use ofnom ineç owners.

               W ILLIA M CLER O , CE SA R A RM AN D O PER EZ A M A D O R and their co-

 conspirators,through The Pharm acies,subm itted and caused to be subm itted,via interstate wire


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 communications,falseandfraudulentclaimstocost-savingsprogramsfqrdrugsthat:(a)physicians
 hadnotprescribed,(b)ThePhannacieshadnotdispensedtopatients,and/or(c)weresubmittedfor
 patientswho werefictitiousindividualsthatdid notexist.

                In furtherance of the conspiracy, W ILLIAM CLERO, CESAR ARM ANDO

 PEREZ A M AD O R and their co-conspirators c>used w ire com m unications to be transm itled in

 interstate and foreign com m erce,including w ire transfersoffunds from progrnm adm inistrators,on

 behalfofphnrmaceuticalm anufactttrers,to certain designated bnnk accountsforThePharm acies.

               In furtherance oftùe conspiracy,W ILLIAM CLERO,CESAR ARM ANDO
 PER EZ A M AD O R and their co-conspirators caused certain m ailm atterto be sentand delivered

 to The Phnnmacies by the Uni
                          Nk
                             ted States Postal Service.
                                                      -
                                                        inc.luding checks f'
                                                                           rom progrnm

 administratorsaspaymentsforfraudulentclaim ssubm itted underthecost-savingspri
                                                                              ogram s.

        8.     A sa resultofthefalse and fraudulentclaim s subm itted to cost-saving progrnm s,the

 program administrators, on behalf of phnrmaceutical manufacturers, m ade paym ents to The

 Pharmaciesin excessof$8m illion.
               W ILLIA M CLER O , CESAR AR M A N D O PE REZ AM A D O R and their co-

 conspiratorsused theproceedspfthefraud schem efortheirown use and benest,forthebenefitof

 others,and to furtherthe fraud schem e.

        Al1in violation ofTitle 18,Ulzited StatesCode,Section 1349.




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                                             COUNT 2                     l
                    CONSPIM CYTO COMMITMONEYLAUNV RING
                                       (18U.S.C.j1956(h)
        Beginning in orarotmd December,2014,theexactdatebeing llnknown to theGrand Jury,

 and continuing through on or aboutthe date of this Indictm ent,in M inm i-Dade County,in the

 Southel'
        n DistrictofFlorida,and elsewhere,thedefendants,

                                    Y LLIAM CLE RO and
                            C ESA R AR M AND O PER EZ AM A D O R ,

 knowingly andwillfully com bined,conspired,and agreed with each other,and with otherslcnown

 and unknown to theGrand Jury,to comm itoffensesagainsttheUnited States,in violation ofTitle

 18,U rlited States Code,Sections 1956 and 1957,thatis:

        a.     to knowingly conduct a financial transaction affecting interstate and foreign

 com merce,which transaction involved the proceeds of specified unlawfulactivity,knowing that

 thepropertyinvolved in thetransaction representedtheproceedsofsom eform ofunlawfulactivity,

 andknowingthatthefinancialtransaction wasdesignedi.
                                                   n wholeand inpartto concealanddisguise

 thenature,location,source,ownership and controloftheproceedsofspecified tmlawfulactivity,

 inviolationofTitle 18,United StatesCode,Section 1956(a)(1)(B)(i),
                                                                 'and
        b.     to knowingly engage in a m onetary transaction affecting interstate and foreign

 com merce,by,through,and to a financialinstitution,in crim inally derived property of a value

 greater than $10,000,such property having been derived from specified unlawful activity,in
                       ..




 violation ofTitle 18,United StatesCode,Section 1957.

        It is further alleged thatthe specified tmlaw fulactivity w as m ail fraud and w ire fraud,in

 violation ofTitle 18,U nited States Code,Sections 1341 and 1343.

        Al1in violation ofTitle18,UnitedStatesCode,Section 1956(h).
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                                              cotlN'rs3-8                  l
                                         M O NEY LA UN D ER IN G
                                            (18U.S.C.j1957)
                   On or aboutthe dates setforth below,in M iam i-Dade County,in the Southern

     DistrictofFlorida,and elsewhere,the defendants,as f'urtheridentified in each countbelow,did

     know ingly engage and attem ptto engage in a m onetary transaction,as specified below , affecting

     interstate and foreign comm erce,by,tllrough,and to a financialinstitution,in crim inally derived

     property of a value greater than $10,000,such property having been derived from specified
     urllawfulactivity:
                                     I


 C ount A ppro
            D xim ate               D efendant                     M onetary Transaction
                   ate


                                                        W iretransferof$30,502.51from Green Eagle
               1/18/2017      CESAR ARM ANDO              Corporation'sCitibank accotmtin M iami,
                               PEREZ AM ADOR            Florida,to HotelW Barcelona'sbnnk account
                                                                      atBBVA Spain
                                                         W iretransferof$25,000 from Green Eagle
              4/14/2017       CESAR ARM ANDO              Corporation'sCitibank accountin M iami,
                               PEREZ AM ADOR            Florida,todefendants'jointpersonalaccount
                                                                         atCitibank
                                                         W iretransferof$30,000 from Green Eagle
              10/19/2017      W ILLIAM CLERO              Cop oration'sCitibnnk actotmtin M iami,
                                                           Florida,toFotmtajyjeueauHotel'sbnnk
                                                                   accountatW ellsFargo
                                                         W iretransferof$40,000 9om Green Eagle
      6       12/28/2017      W ILLIAM CLERO              Corporatiori'sCitibank accountin M iami,
                                                        Florida,to theltitz Cazlton,NY CentralPark,s
                                                              bank accountatBank ofA m erica
                                                        Cash withdrawalof$16,250 from Green Eagle
 -    7        3/2/2018       CESAR          DO
                               PER EZ AM AD OR            Corporation,s Citibank accountin M inm i,
                                                                           Florida
                                                        A TM depositofChange H ealthcare check for
      8       10/18/2019      W ILU A M c tzEuo         $18,255.97 into AbelPharm acy Corp.account
                                                                         atCitibnnk

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               lt is further alleged that the specified lm law f'
                                                                ul activity'w as m ail f'
                                                                                        raud and w ire

 fraud,in violation ofTitle 18,U nited StatesCode,Sections 1341 alld 1343.

        In violation ofTitle 18,United States Code,Sections 1957 and 2.

                                FO R FE IT UR E A LL EG A TIO N S

               Theallegationscontained in thisIndictm entarehereby re-alleged and incop orated

 by reference asthough fully setforth herein forthe purpose ofalleging forfeiture to theUnited

 Statesofcertainprojertyinwhichthedefendants,m LLIAM CLERO andCESAR ARMANDO
 PEREZ AM ADOR,havean interest.

        2.     Upon conviction ofa violation ofTitle 18,United States Code,Section 1349,as

 alleged inthisIndictm ent,thedefendantsoconvicted shallforfeittotheUnited Statesanyproperty,

 realorpersonal,which constitutesorisderived 9om proceedstraceableto such offense,pursuant

 toTitle18,United StatesCode,Section981(a)(1)(C).
               Upon conviction ofaviolationofTitle 18,UnitedStatesCode,Sections1956and/or

 1957,asalleged inthisIndictm ent,thedefendantsoconvicted shallforfeitto theUnited States,any

 property,realorpersonal,involved in such offense,and any property traceable to such property,

 ptlrsuanttoTitle18,UnitedStatesCode,Section 982(a)(1).
       4.      Thepropertysubjecttoforfeitureasaresultoftheallegedoffensesincludes,butis
 notlimited to,thefollowing:

               a. 2016BM W X5 vebicle;

               b. 2016 G M C Y ukon D enalitruck;

                  2018 GM C Sierra 1500 D enalitruck;and


                                                11
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                        2019 CadillacEscaladevehicle.                1
                                                                    I
                  Theproperty subjecttoforfeitureasaresultoftheallegedoffensesincludes,butis
 notlimited to,a sum which representsthe totalamotmtofftmds involved in orderived from the

 allegedoffensesandmaybesoughtasaforfeituremoneyjudgment.
        6.        If the property subjectto forfeiture,as a result ofany actor omission ofthe
 defendant,

                  (a) cnnnotbelocatedupontheexerciseofduediligence;
                  (b) hasbeentransferredorsoldto,ordepositedwith,athirdparty;
                      hasbeenplacedbeyondthejurisdiction ofthecourt;
                  (d) hasbeen substantiallydiminishedinvalue;or
                      hasbeen comm ingled with otherpropel'ty which cannotbedivided without

                     difficulty,

 theUnited Statesshallbeentitled to forfeiture ofsubstituteproperty tm dertheprovisionsofTitle

 21,United StatesCode,Section 853û$. Such substitutepropel'ty includes,butisnotlimitedto,
 the following'
              .

                     realproperty located at 10710 S W 67th Terrace, M inm i, FL 33173, m ore

 specifically described as:
                                                                               $.
               Lot11,Block 1,ofGolden W est,according to thePlatthereof,asrecorded
               in PlatBook 109,Page 51,oftheTublic RecordsofM inm i-D ade Cotmty,
               Florida;

                  (ii) realproperty located at 13510 SW .96th street,M inmi,FL 33186,more
 specifically described as:

               Lot7,Block 9,ofCalusa Club EstatesThird A ddition,according to the Plat
               thereof,as recorded in Plat Book 103,Page 78, of the Public Records of

                                               12
'
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            Case 1:21-cr-20112-UU Document 3 Entered on FLSD Docket 02/26/2021
                                                                     1,        Page 13 of 16
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                                      Miami-Dade Cotmty,Florida.                         1
                                                                                         '

                           A1lpursuanttoTitle 18,UnitedStatesCode,Sections981(a)(1)(C)and 982(a)(1),andthe
    '

             PCOCCduresSetfol'thatTitle21yUnited StatesCodeySection 853,asincorporâtedbyTitle 18,United

             StatesCode,Section 982(b)(1),andTitle28,UnitedStatesCode,Section2461(c).               '
                                                    '
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                                                                          A TRU E BILL




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             U N ITED STA TES A TTO RN EY

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'            ASSISTANT ' ITED STATESAW ORNEY                                             ,
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                                             UNITED STATES DISTRICT CO URT
                                             SOUTH ERN DISTRICT O F FLOR IDA

UM TED STATESO F AM ERICA                                    CASE NO .
  V.
                                                             CERTIFICATE OF TRIA L A TTORNEY.
W ILLIAM CLERO andCESAR ARMANDO FEREZAMADOR
                                                             Superseding CaseInform ation:
                               Defendants.     /

CourtDivijiol!:(selectOne) .                                 New defendantts)          Yes        No
 ?'     M lam l             K ey W est                       Num berofnew defendants
        FTL                 MT B         FTP                 Totalnum berofcounts

                  1have carefully considered the allegations ofthe indictment,the numberofdefendants,the numberof
                  probablewitnessesand the legalcomplexitiesoftheIndictm ent/lnformation attachedhereto.
                  1. am aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                  Coul'tin Setling their calendars and scheduling criminaltrials underthe m andate ofthe Speedy Trial
                  Act,Title28U.S.C.Section 3161.
                  lnterpreter:      (YesorNo)          Yes
                  Listlanguage and/ordialect           SPANISH
                  Thiscmsewilltake 6 daysforthepaltiestotly.
                  Please check appropriate category andtype ofoffenselistedbelow :
                  (Checkonlyone)                                    (Checkonlyone)

        1         0 to 5 days                                       Petty
        11        6to l0 days                      /                M inor
        I11       11to 20 days                                      M isdem .
        IV        21to 60 days                                      Felony             z
        V         61daysand over
        6.        HasthiscasepreviouslybeenfiledinthisDistrictCourt?                 (YesorNo)    No
         Ifyes:Judge                                         CaseN o.
         (Attach copyofdispositiveorder)
         Hasacomplaintbeenfiledinthismatter?                 (YesorNo)        N0
         Ifyes:MajistrateCaseNo.
         Related mlscellaneousnumbers:
         Defendantts)infedefalcustodyasof
         Defendantts)instatecustodyasof
         Rule20 from theDistrictof
         Isthisapotentialdeathpenaltycase?(YesorNo)                     No
                  Doesthiscaseoriginate from a mattrrpending in the CentralRegion oftheU.S.Attorney'sOftice
                  priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                      Yes          No /
                  Doesthiscaseoriginate from a matterpending in theN ol-thern Region U.S.Attorney'sOffice
                  priortoAugust8,2014(M ag.JudgeShaniekM aynard)?                    Yes          No z


                                                                                             g.
                                                                                              .
                                                                    AIM EE C.J1 NEZ
                                                                    ASSISTANT UNITED STATES ATTORNEY
                                                                    CourtN o.A5500795
 *penaltySheetts)attached                                                                                REV 8/13/2018
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                              UNITED STATES DISTRICT COURT
                              SO U TH ERN D ISTR ICT O F FL O RID A

                                         PEN A LTY SHEET

     D efendant'sN am e: W ILLIA M CLERO

     Case N o:

!    Count#:1

     Conspiracyto Comm itW ireFraud andM ailFraud

     Title 18,United States CodesSection 1349

     *M ax.Penalty:       Twenty(20)years'imprisonment
     Cotmt#:2

      Conspiracy to Com mitM onev Latmderin:

       Title 18.United StatesCode,Section 1956(h)

     *M ax.Penalty:      Twenty(20)years'imprisonment
     Counts#:5,6,8

       Encacin:in M oney LatmderingTransaction

       Title 18pUnited StatesCodeeSection 1957

      *M ax.Penalty:      Ten (10)years'imprisonment




       WR efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
                specialassessm ents,parole term s,or forfeitures that m ay be applicable.
Case 1:21-cr-20112-UU Document 3 Entered on FLSD Docket 02/26/2021 Page 16 of 16



                          U N ITED STATE S D ISTR ICT CO UR T                                 i
                          SOU TH ERN D ISTR ICT OF FL O RID A

                                     PEN ALTY SH EET

  Defendant'sN am e: CESA R ARM AN D O PEREZ A M A D OR

  Case N o:

  Count#:1

  Conspiracv to CommitW ireFraud and M ailFraud

 Title 18,United StatesCode.Section 1349

  *M ax.Penalty:      Twenty(20)years'imprisonment
  Cotmt#:2

  Conspiracyto Comm itM oney Launderinc

   Title 18sUnited StatesCodeeSection 1956411)

  *M ax.Penalty:    Twenty(20)years'imprisonment
  Counts#:3,4,7

   Encacinc in M onev Latmderinz Transaction

   Title 18pUnited StatesCode.Section 1957

  *M ax.Penalty:      Ten(10)years'imprisonment




   *R efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures that m ay be applicable.
